Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 1 of 115




            EXHIBIT 2
            Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 2 of 115




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 5
     Attorney for Defendant
 6   PACIFIC GATEWAY CONCESSIONS LLC
 7
 8
                                 UNITED STATES DISTRICT COURT
 9
10                            NORTHERN DISTRICT OF CALIFORNIA

11
12   CHRISTOPHER HUFFMAN, individually,                Case No. ___________________
     and on behalf of other members of the
13                                                     DECLARATION OF GABRIEL AVILES IN
     general public similarly situated,
14                                                     SUPPORT OF DEFENDANT’S NOTICE OF
                          Plaintiff,                   REMOVAL OF ACTION
15
            v.
16
     PACIFIC GATEWAY CONCESSIONS LLC,
17
     a California limited liability company; and
18   DOES 1 through 100, inclusive,

19
                          Defendants.
20
21
22         I, Gabriel Aviles, declare:
23         1.     I am the Project Manager and Regional Loss Prevention Manager of Pacific
24   Gateway Concessions, LLC (“PGC”), and in that capacity, I exercise authority and control
25   over PGC’s business records. I began working for PGC in May 2013 as the Regional Loss
26   Prevention Manager. I held that position until 2015 when I became the Human Resources
27   Manager. I served in this position until 2016 when I was promoted to my current position of
28   Project Manager and Regional Loss Prevention Manager. I make this declaration based on

                                                   1
                    DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF ACTION
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 3 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 4 of 115




           EXHIBIT A
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 5 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 6 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 7 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 8 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 9 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 10 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 11 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 12 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 13 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 14 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 15 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 16 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 17 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 18 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 19 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 20 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 21 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 22 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 23 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 24 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 25 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 26 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 27 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 28 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 29 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 30 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 31 of 115




            EXHIBIT B
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 32 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 33 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 34 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 35 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 36 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 37 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 38 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 39 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 40 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 41 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 42 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 43 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 44 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 45 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 46 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 47 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 48 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 49 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 50 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 51 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 52 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 53 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 54 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 55 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 56 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 57 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 58 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 59 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 60 of 115




           EXHIBIT C
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 61 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 62 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 63 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 64 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 65 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 66 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 67 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 68 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 69 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 70 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 71 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 72 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 73 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 74 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 75 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 76 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 77 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 78 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 79 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 80 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 81 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 82 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 83 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 84 of 115




           EXHIBIT D
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 85 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 86 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 87 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 88 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 89 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 90 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 91 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 92 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 93 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 94 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 95 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 96 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 97 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 98 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 99 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 100 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 101 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 102 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 103 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 104 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 105 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 106 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 107 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 108 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 109 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 110 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 111 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 112 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 113 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 114 of 115
Case 4:19-cv-01791-PJH Document 1-2 Filed 04/03/19 Page 115 of 115
